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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                                                                                        March 22, 2017
                            UNITED STATES DISTRICT COURT
                                                                                      David J. Bradley, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

GEORGE BERNARD ,                                §
                                                §
       Plaintiff,                               §
                                                §
v.                                              §           CIVIL ACTION H-15-734
                                                §
CITY OF HOUSTON , et al.,                       §
                                                §
       Defendants.                              §


                O RDER A DOPTING M EMORANDUM & R ECOMMENDATION

       Pending before the court is the Magistrate Judge’s Memorandum and Recommendation

(“M&R”) (Dkt. 36) relating to the defendants’ motion for summary judgment (Dkt. 34). The M&R

advises that any parties wishing to object to the M&R must do so by March 16, 2016. Dkt. 36 at 64.

The court has received no objections. The court, having reviewed the M&R, relevant documents

within the record, and the applicable law, and having received no objections, ADOPTS the M&R

in its entirety. For the reasons stated in the M&R, the defendants’ motion for summary judgment

is GRANTED IN PART AND DENIED IN PART. The plaintiff’s claims, except for the excessive

force claim against individual defendant Officer Ferdinand Rodriguez under 42 U.S.C. § 1983, are

DISMISSED WITH PREJUDICE.



       Signed at Houston, Texas on March 22, 2017.




                                             ___________________________________
                                                         Gray H. Miller
                                                   United States District Judge
